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                         IN THE UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

IN RE:                                                      CASE NO. 17-05935-RCT
SCOTT M. SMITH                                              Chapter 7


                        Debtor


                                  AMENDED CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the Motion to Sell Free and Clear of Liens
(doc #38) and the Notice of Hearing (Doc #39) has been furnished by U.S. mail or electronically this
October 17, 2018 to the following:

Debtor Attorney: don@brandonlawyer.com
UST: USTPRegion21.TP.ECF@USDOJ.GOV
Trustee: tracikstevenson@gmail.com
Debtor: SCOTT M. SMITH, 305 Medora St., Auburndale, FL 33823
SPS Select Portfolio Servicing, inc. attn: Remittance Processing, 3217 S. Decker Lake Dr. Salt Lake City,
UT 84119




                                         /s/ Traci K. Stevenson
                                         TRACI K. STEVENSON, Trustee
                                         P.O. Box 86690
                                         Madeira Beach, FL 33738
                                         (727) 397-4838
                                         Florida Bar# 942227
                                         tracikstevenson@gmail.com
